        CASE 0:21-cr-00108-PAM-TNL Doc. 154 Filed 12/30/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 21-cr-108 (PAM/TNL) (3)



UNITED STATES OF AMERICA,              )
                                       )
                            Plaintiff, )           DEFENDANT KUENG’S FIFTH
Vs.                                    )               MOTION IN LIMINE
                                       )
J ALEXANDER KUENG,                     )
                                       )
                            Defendant. )
                                       )


       Mr. Kueng moves this Court for an order prohibiting the government from

entering into evidence or relying on videos that combine officer body worn cameras

(BWC) with any bystander video. Alternatively, Mr. Kueng asks that the audio portion

of the combined videos be restricted to the BWC audio only. The combined videos,

especially the audio portion of the videos, suggest that the officers were able to perceive

facts, sounds and events that were not available to the officers at the time the events in

question and have no bearing on the "objective reasonableness test" when examining an

officer's actions. Graham v. Connor, 490 U.S. 386, 392-399 (1989) The combined

videos prejudice Mr. Kueng because they inaccurately and falsely depict the facts known

at the time and should not be considered by the jury on the issue of how a similarly

trained and experienced officer would respond. See Fed. R. Evid. 401, Fed. R. Evid. 403.
      CASE 0:21-cr-00108-PAM-TNL Doc. 154 Filed 12/30/21 Page 2 of 2




                                   Respectfully submitted,

Dated: December 30, 2021           /s/ Thomas C. Plunkett
                                   Thomas C. Plunkett
                                   Attorney No. 260162
                                   Attorney for Defendant
                                   101 East Fifth Street
                                   Suite 1500
                                   St. Paul, MN 55101
                                   Phone: (651) 222-4357
                                   Fax: (651) 297-6134
                                   Email: tcp@tp4justice.com




                                    2
